Case 2:10-cr-00722-SRC                Document 96       Filed 06/15/11         Page 1 of 1 PageID: 377




                                      UNITED STATES DISTRICT COURT
                                         DISTRiCT OF NEW JERSEY

                             UNITED STATES v. STEVIE BUCKUSE, 10cr772 (SRC)
                                      SBI No.: 981290B , D.O.B.: 2/22/1976
                        PETITION FOR WRIT OF HABEAS CORPUS

  1. STEVIE BUCKUSE, SBI No.: 9812908                        76 is now confined at the Essex County
  Correctional Facility, 356 Dorernus Avenue. Newark, Ni ui tu5.

  2. This individual is a defendant in a federal case and will be required at Newark. New
 Hon. Stanley Chesler. on Tuesday, June 7, 2011 at 9:00 a.m. and on a contin       Jersey before the
                                                                            uing daily basis for trial
  until conclusion of the trial. A Writ of Habeas Corpus should be issued for that purpos
                                                                                            e.
 DATED: June 1, 2011                                        5:/RODNEY VILLAZOR
                                                            Rodney C. Villazor
                                                            Assistant U.S. Attorney
                                                            Petitioner 973-645-2823
                                                                       -




                                                 ORDER



                                                              fin. Stanley R. Chesler
                                  WRIT OF HABEAS CORPUS
 The United States of America to Warden of the Essex County Correctional Facility:
 WE COMMAND YOU that you have the body of:

                         STEVIE BUCKUSE, SB! No.: 981290B

 now confined at the Essex County Correctional Facility, on Tuesday, June
                                                                          7, 2011 at 9:00 a.m. be
 brought before the United States District Court, the Hon. Stanley R, Chesle
                                                                             r, U.S. District Judge,
 in the U.S. Postoffice and Federal Courthouse, 2 Federal Square, Newark,
                                                                             New Jersey 07102 on
 Tuesday. June 7, 2011 at 9:00 a.m. for trial in the above-captioned matter
                                                                            and on a continuing
 daily basis until the completion of trial.

                 WITNESS the Honorable Stanley R. Chesler
                 United States District Judge
                 Newark, New Jersey.

                    /        i-
 DATED      i       ‘    /        /   /            WILLIAM T WALSH
                /        I                         Clerk of the U.S. District Court
                                                   for the District of New Jersey

                                                   P/ L/J’’ 7-t
                                                                    ‘Deputy C1erk
